                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )       No. 3:21-cr-00264-1
       v.                                            )
                                                     )       CHIEF JUDGE CRENSHAW
BRIAN KELSEY                                         )


                      GOVERNMENT’S MOTION FOR ORDER
                FINDING WAIVER OF ATTORNEY-CLIENT PRIVILEGE

       The United States of America, through Henry C. Leventis, United States Attorney for the

Middle District of Tennessee, Assistant United States Attorney Amanda J. Klopf, Corey R.

Amundson, Chief of the Public Integrity Section of the United States Department of Justice, Trial

Attorney John P. Taddei, Reagan Fondren, First Assistant United States Attorney for the Western

District of Tennessee, and Assistant United States Attorney David Pritchard (collectively, “United

States” or “government”), respectfully moves this Court to enter an order finding that defendant

Brian Kelsey has waived the attorney-client privilege with respect to the specific matters raised in

his motion to withdraw his guilty pleas (DE 93 (“Mot.”)) and his reply (DE 104 (“Reply”)).

       “The [attorney-client] privilege may be implicitly waived by claiming ineffective

assistance of counsel or by otherwise raising issues regarding counsel’s performance . . . .” In re

Lott, 424 F.3d 446, 452-53 (6th Cir. 2005); see United States v. Pinson, 584 F.3d 972, 977 (10th

Cir. 2009) (“acknowledg[ing] the implied waiver of attorney-client privilege that arises when a

party puts his counsel’s advice in issue” and collecting cases holding the same). “[L]itigants

cannot hide behind the privilege if they are relying upon privileged communications to make their

case.” Lott, 424 F.3d at 454. “‘[T]he attorney-client privilege cannot at once be used as a shield

and a sword.’” Id. (quoting United States v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991)).




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“Implied waivers are consistently construed narrowly.” Id. at 453. “Courts ‘must impose a

waiver no broader than needed to ensure the fairness of the proceedings before it.’” Id. (quoting

Bittaker v. Woodford, 331 F.3d 715, 720 (9th Cir. 2003)).

       In his motion, the defendant does not explicitly allege that his prior counsel was ineffective.

However, the defendant raises several claims that implicate conversations between the defendant

and his former attorney, Ty Howard, and the counsel that handled his plea, Paul Bruno, David

Rivera, and Jerry Martin (collectively “the Attorneys”), and their performance. Those claims

include, but are not limited to: the Attorneys permitted him to “plead[] guilty to offenses that are

not actually crimes,” Mot. 7; the defendant “continued to maintain his innocence” during pre- and

post-indictment plea negotiations, id. at 12-13; the defendant “entered the plea at issue with an

unsure heart and confused mind,” id. at 3; the defendant “was given a mere 48 hours” to decide to

plead guilty “without fully understanding ancillary consequences,” id.; and the defendant “did not

enter a guilty plea with a clear head and clear understanding of what he was pleading guilty to,”

Reply at 3. The United States is not privy to any conversations that defendant may have had with

the Attorneys regarding these claims.       However, defendant has waived the attorney-client

privilege as to any protected communications with the Attorneys regarding these claims because

he has placed these matters in controversy. The Attorneys must divulge those communications

so that the Court can assess whether the defendant has met his burden to “show a fair and just

reason for requesting the withdrawal.” Fed. R. Crim. P. 11(d)(2)(B).

       Accordingly, the United States requests that this Court enter an order finding that defendant

has waived his attorney-client privilege with respect to the claims that he raises in his motion to

withdraw his guilty pleas and his reply in support of that motion (DE 93, 104). The government


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also requests that the Court allow the government to contact the Attorneys in advance of the

scheduled May 16, 2023, hearing date to obtain information necessary to respond to defendant’s

motion to withdraw and prepare their anticipated testimony. Cf. Woodside v. United States, No.

3:20-cv-00221, 2021 WL 83049 at *1 (M.D. Tenn. Jan. 11, 2021) (Crenshaw, C.J.) (recognizing

waiver of attorney-client privilege based on ineffective assistance claim requesting withdrawal of

plea and indicating prior defense counsel would need to testify at an in-person hearing). The

government plans to ask the Attorneys to divulge only those communications that are necessary to

litigate the defendant’s request for withdrawal.

        On May 3, 2023, David Warrington, current counsel for the defendant, told the government

that the defendant has not determined a position with respect to this motion.



        Respectfully submitted,

        HENRY C. LEVENTIS                                    COREY R. AMUNDSON
        United States Attorney                               Chief
        Middle District of Tennessee                         Public Integrity Section

By:                                                    By:

        /s/ Amanda J. Klopf______________                    /s/ John P. Taddei_________
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        Western District of Tennessee



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By:

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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing response was electronically filed with

the Clerk on May 3, 2023, and service was made upon all persons registered in that case via

CM/ECF and/or by email.


                                                             /s/ John P. Taddei_________
                                                             JOHN P. TADDEI
                                                             Trial Attorney




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